           Case 1:21-cv-00751-DAE Document 209 Filed 08/23/24 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


    AFFIDAVIT OF KEVIN A. LAVELLE IN SUPPORT OF PLAINTIFFS’ REPLY IN
         FURTHER SUPPORT OF MOTION FOR CLASS CERTIFICATION




4873-7218-1979.v1
           Case 1:21-cv-00751-DAE Document 209 Filed 08/23/24 Page 2 of 3




         I, Kevin A. Lavelle, declare, under penalty of perjury:

         1.         I am a member of the law firm of Robbins Geller Rudman & Dowd LLP, the State

Bar of California, am admitted pro hac vice to the above-referenced action, and am lead counsel for

lead plaintiff Mohammad Bozorgi. I submit this affidavit in support of Plaintiffs’ Reply in Further

Support of Motion for Class Certification.

         2.         Attached is a true and correct copy of the following exhibits:

         Exhibit 1:        United States v. Wang, 24-cr-211, ECF 1 (D. Md. June 27, 2024);

         Exhibit 2:        Press Release, Cassava Sciences, Inc., Cassava Sciences Announces Changes
                           in Executive Leadership, Enhanced Corporate Governance and Other
                           Initiatives                (July                 17,               2024),
                           https://www.cassavasciences.com/node/17061/pdf;

         Exhibit 3:        Cassava Sciences, Inc., Current Report (Form 8-K) (July 1, 2024);

         Exhibit 4:        Excerpts from August 8, 2024 Deposition Transcript of René M. Stulz, Ph.D.;

         Exhibit 5:        Rebuttal Report of Professor Steven P. Feinstein, Ph.D., CFA August 23, 2024;

         Exhibit 6:        Press Release, Cassava Sciences, Inc., Cassava Sciences Announces Final
                           Results of a Phase 2b Clinical Study of Sumifilam in Patients with
                           Alzheimer’s          Disease           (Sept.        14,         2020),
                           https://www.cassavasciences.com/node/14916/pdf;

         Exhibit 7:        Press Release, Cassava Sciences, Inc., Cassava Sciences Announces
                           Additional Clinical Data from a Phase 2b Study of Sumifilam in Alzheimer’s
                           Disease (Nov. 4, 2020), https://www.cassavasciences.com/node/14971/pdf;

         Exhibit 8:        Press Release, Cassava Sciences, Inc., Cassava Sciences Announces
                           Significant Program Progress and Expected Key Milestones in 2021 for Its
                           Clinical Program in Alzheimer’s Disease (Feb. 8, 2021),
                           https://www.cassavasciences.com/node/15121/pdf;

         Exhibit 9:        Press Release, Cassava Sciences, Inc., Cassava Sciences Announces Positive
                           End-of-Phase 2 Meeting with FDA and Outlines Pivotal Phase 3 Program
                           for Simufilam in Alzheimer’s Disease (Feb. 22, 2021),
                           https://www.cassavasciences.com/node/15186/pdf;

         Exhibit 10:       Bozorgi v. Cassava Scis., Inc., 1:24-MC-91041-AK, Sealed and Unredacted
                           Version of ECF 20, (D. Mass. Feb. 22, 2024) [FILED UNDER SEAL];



                                                    -1-
4873-7218-1979.v1
           Case 1:21-cv-00751-DAE Document 209 Filed 08/23/24 Page 3 of 3




         Exhibit 11:   August 28, 2021 email from Heidi Creighton to Kevin Hrusovksy RE Cease
                       and Desist Request [BEGNO.: Quanterix_Cassava_Sec_Litig_0003303]
                       [FILED UNDER SEAL];

         Exhibit 12:   Chart of Post-Comcast Cases Where Dr. Feinstein’s Out-of-Pocket Damages
                       Methodology Was Adopted at the Class Certification Stage;

         Exhibit 13:   Excerpts from May 17, 2024 Deposition Transcript of Mohammad Bozorgi;

         Exhibit 14:   Excerpts from May 9, 2024 Deposition Transcript of Kenneth Calderone;

         Exhibit 15:   Excerpts from May 28, 2024 Deposition Transcript of Manohar K. Rao.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on

August 23, 2024.

                                                            /s/ Kevin A. Lavelle
                                                           KEVIN A. LAVELLE




                                              -2-
4873-7218-1979.v1
